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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

----------------------------------------------------x
E.G., individually and as parent and natural           :
guardian of A.I. and L.I., minor children;             :   Index No. ____________
M.M., individually and as parent and natural           :
guardian of E.H., L.H., Ev.P., and E.P.,               :
minor children; O.M., individually and as              :
parent and natural guardian of A.M., a minor           :
child; and COALITION FOR THE                           :
HOMELESS, on behalf of themselves and                  :
all others similarly situated,                         :
                                                       :
                           Plaintiffs,                 :
                                                       :
         -against-                                     :   CLASS ACTION COMPLAINT
                                                       :
THE CITY OF NEW YORK; NEW YORK                         :
CITY DEPARTMENT OF EDUCATION;                          :
RICHARD A. CARRANZA, as Chancellor of :
the New York City Department of Education; :               DEMAND FOR JURY TRIAL
NEW YORK CITY DEPARTMENT OF                            :
SOCIAL SERVICES; STEVEN BANKS, as                      :
Commissioner of the New York City                      :
Department of Social Services; NEW YORK :
CITY DEPARTMENT OF HOMELESS                            :
SERVICES; JOSLYN CARTER, as                            :
Administrator of the New York City                     :
Department of Homeless Services; NEW                   :
YORK CITY HUMAN RESOURCES                              :
ADMINISTRATION; GARY JENKINS as                        :
Administrator of the New York City Human               :
Resources Administration; NEW YORK                     :
CITY DEPARTMENT OF INFORMATION :
TECHNOLOGY AND                                         :
TELECOMMUNICATIONS; and JESSICA                        :
TISCH, as Commissioner of the New York                 :
City Department of Information Technology              :
and Telecommunications,                                :
                                                       :
                           Defendants.                 :
                                                       :
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                                      PRELIMINARY STATEMENT

         1.     This action seeks to vindicate the rights of homeless children residing in New York

City shelters to receive a sound basic education during the COVID-19 pandemic.

         2.     The pandemic has transformed the school experience for New York City’s

children. Since the virus necessitated the repeated shutdown of school buildings, attending school

has not meant walking through a schoolhouse door every day. It has meant that every student is

required to enter a “virtual classroom” by logging onto a tablet, computer, or other electronic

device anywhere from one to five days per week. Once connected by videoconference, children

see their teachers and classmates. Class is called to order and attendance is taken. Teachers jump

into their lesson plans. Students raise their hands to answer questions or pose questions of their

own. Classwork and homework are completed electronically and submitted through online

platforms. The educational experience is imperfect, but it is still school.

         3.     The children of Plaintiffs E.G., M.M., and O.M. 1 have been denied this experience.

So have thousands of other students residing in shelters throughout New York City. They lack

access to the kind of reliable internet that would enable them to participate meaningfully in

school—indeed, to enter school at all—because the City has failed to provide it.

         4.     The City’s failure was perhaps understandable at the outset of the pandemic. The

rapid onset of the COVID-19 pandemic plunged the City and its educational system into

chaos. The abrupt closure of schools forced teachers and students alike to transition to remote



1
  Plaintiffs (other than Coalition for the Homeless) are identifying themselves in this pleading and all other public
filings in this case through initials only. These Plaintiffs are parents of minor children, all of whom are homeless as
defined by the McKinney-Vento Act Homeless Assistance Act (the “McKinney-Vento Act”). See 42 U.S.C.
§ 11434a(2). The McKinney-Vento Act, and the Family Education Rights and Privacy Act incorporated therein,
protect the privacy rights of homeless children. See 42 U.S.C. § 11432(g)(3)(G); 20 U.S.C. § 1232g(b); see also P.M.
v. Evans-Brant Cent. Sch. Dist., 2008 WL 4379490, at *3 (W.D.N.Y. Sept. 22, 2008) (“[S]ince a parent must proceed
on behalf of a minor child, the protection afforded to the minor would be eviscerated unless the parent was also
permitted to proceed using initials.”).
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learning with essentially no preparation. And the City made some initial efforts to provide children

residing in shelters with technology to facilitate their attendance in the virtual classroom.

       5.     For months, however, it has been clear that the City’s initial efforts have fallen short.

With no reliable internet service for residents at numerous shelters throughout the City, Plaintiffs’

children have routinely been unable to connect to their virtual classroom and participate in school.

The City’s ongoing failure to provide Plaintiffs and other members of the Class (as defined in

paragraph 116 below) with reliable internet access—eight months into the pandemic—violates the

law and requires legal redress in the form of an injunction.

       6.     The New York Constitution guarantees a “sound basic education” for each and every

child living in the state. N.Y. Const. art. XI, § 1; see also Campaign for Fiscal Equity, Inc. v. New

York, 655 N.E.2d 661, 665 (1995). New York statutory law further ensures that indigent children

such as Plaintiffs receive the necessary tools for attendance at school. N.Y. Educ. L. § 3209(7).

       7.     Federal law provides additional, independent protections. Through the McKinney-

Vento Act, Congress sought to eradicate the barriers to education that arise when a child suffers

from homelessness and to ensure that homeless children can enroll in, attend, and succeed in

school. 42 U.S.C. §§ 11431-11435. The Fourteenth Amendment to the U.S. Constitution

commands the same result by guaranteeing the equal protection of the laws, including in the realm

of education. U.S. Const. amend. XIV, § 1.

       8.     The City’s ongoing failure to provide reliable internet service at shelters throughout

the City violates each of these constitutional and statutory obligations. Indeed, the Mayor of New

York has publicly admitted that reliable internet access is a necessity at all shelters, declaring that

he has instructed City officials to begin installation of “WiFi”—that is, wireless internet access via

routers or access points that are connected to a building’s wired internet connection—in all of the




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City’s shelters. But City officials have refused to articulate any clear timeline for meeting this

directive. Instead, they have stated vaguely that WiFi installation will be complete at some shelters

“this winter,” and at the vast majority of the City’s other shelters in the summer of 2021—that is,

after the current school year is over. And the same officials have described this unacceptable result

as an “aggressive goal,” suggesting doubts that it will actually be achieved.

       9.     Ultimately, an education delayed is an education denied. It is neither acceptable nor

lawful to require Plaintiffs and other Class members to accept a lack of genuine access to the

virtual classroom for most, if not all, of the 2020-21 school year. This is especially so now that

the City, just days prior to the filing of this lawsuit, has indefinitely suspended in-person education

across the City’s public schools due to increases in positive COVID-19 cases.                Plaintiffs

accordingly seek, by this class action, expedited redress for the City’s ongoing violation of its

constitutional and statutory duties to provide the basic educational access the City’s most

vulnerable residents have been persistently denied since the outset of the pandemic.

                                 JURISDICTION AND VENUE

       10.    Jurisdiction and venue are proper in this Court.

       11.    This Court has jurisdiction pursuant to 28 U.S.C. § 1331, on the ground that this

action arises under the laws of the United States.

       12.    This Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367(a) over

Plaintiffs’ claims of violations of the New York Constitution, Article XI, § 1, and New York State

Education Law § 3209.

       13.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(1), on the ground

that each of the Defendants resides in this District.




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                                            PARTIES

        14.   Plaintiff E.G. lives in a DHS-run family shelter in Harlem. She is a single parent of

four children and a survivor of domestic violence. E.G.’s children, A.I. and L.I., are enrolled in

DOE elementary and middle schools, respectively, in Manhattan, while the youngest are too young

to enroll in school. Since March 2020, when full-time in-person schooling was shut down in New

York City, E.G.’s children have attended school remotely using the devices provided to them by

DOE. When given the option of sending her children to school for part-time, in-person learning

in September, E.G. chose to keep them home because she did not want to risk exposing them to

the virus.

        15.   Plaintiff M.M. lives in an HRA-run domestic violence family shelter. Four of

Plaintiff’s five children, E.H., L.H., Ev.P., and E.P., attend the same DOE school in Manhattan.

M.M. is a survivor of domestic violence and lives alone in a shelter with her five children. Since

March 2020, when full-time in-person schooling was shut down in New York City, M.M.’s

children have attended school remotely using the devices provided to them by DOE.

        16.   Plaintiff O.M. lives in a DHS-run shelter in Brooklyn with his wife and son, A.M.

A.M. is enrolled as a student in a DOE public school. A.M. attended a middle school across the

street from the family’s shelter at the beginning of the pandemic. Since March 2020, A.M. has

been accessing his education through remote-only learning due to O.M.’s medical conditions,

which put him at risk for severe complications if he were to contract COVID-19.

        17.   Plaintiff COALITION FOR THE HOMELESS is a not-for-profit organization

focused on advocating for, and providing services to, homeless individuals and families in New

York City.




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       18.   Defendant THE CITY OF NEW YORK (“New York City” or the “City”) is a

municipality of the State of New York, and is responsible for, among other things, providing a

sound basic education to the children of New York City, including Plaintiffs and other Class

members.

       19.   Defendant NEW YORK CITY DEPARTMENT OF EDUCATION (“DOE”) is an

agency of New York City. DOE has control over educational matters affecting students in New

York City, and is responsible for the general supervision and management of the City’s public

schools. DOE is responsible for ensuring its schools comply with federal, state, and local laws.

       20.   Defendant RICHARD A. CARRANZA is the Chancellor of DOE.                   Defendant

Carranza is responsible for the day-to-day operations of both DOE and all New York City public

schools. Defendant oversees the education of approximately 1.1 million students in over 1,800

schools throughout New York City, including those students residing in the City’s shelters.

Defendant Carranza has developed DOE’s policies and plans to address the COVID-19 pandemic

and its impact on New York City’s public schools. Defendant Carranza is sued in his official

capacity.

       21.   Defendant NEW YORK CITY DEPARTMENT OF SOCIAL SERVICES (“DSS”)

is an agency of New York City. DSS is responsible for the majority of the City’s social services

programs, including oversight and management of the New York City Human Resources

Administration and the New York City Department of Homeless Services.

       22.   Defendant STEVEN BANKS is the Commissioner of DSS. Defendant Banks is

responsible for the day-to-day operations of DSS, which include, among other things, oversight

and management of DHS and HRA. Together with Defendants Carter and Jenkins, Defendant




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Banks has developed policies for DHS and HRA and plans to address the COVID-19 pandemic

and its impact on New York City’s shelters. Defendant Banks is sued in his official capacity.

       23.   Defendant NEW YORK CITY HUMAN RESOURCES ADMINISTRATION

(“HRA”) is an agency of New York City. HRA provides services to indigent New Yorkers by

providing food assistance, rental assistance, and other benefits, and is responsible for managing

the City’s domestic violence shelters. HRA operates approximately 55 domestic violence shelters

throughout New York City. On information and belief, approximately 50 of these shelters house

individuals with children.

       24.   Defendant GARY JENKINS is the Administrator of HRA. Defendant Jenkins is

responsible for the day-to-day operations of HRA, which include, among other things,

administering the City’s domestic violence shelter system for homeless adults and families with

minor children. Defendant Jenkins oversees approximately 55 confidential shelters, which house

2,514 emergency beds. Together with Defendant Banks, Defendant Jenkins has developed HRA’s

policies and plans to address the COVID-19 pandemic and their impact on New York City’s

domestic violence shelters. Defendant Jenkins is sued in his official capacity.

       25.   Defendant NEW YORK CITY DEPARTMENT OF HOMELESS SERVICES

(“DHS”) is an agency of New York City. DHS provides services to the City’s homeless and is

responsible for managing the City’s shelters. DHS operates approximately 450 shelters throughout

New York City. On information and belief, 247 of these shelters house families with children.

       26.   Defendant JOSLYN CARTER is the Administrator of DHS. Defendant Carter is

responsible for the day-to-day operations of DHS, which include, among other things,

administering the City’s shelter system for homeless adults and families. Defendant Carter

oversees approximately 450 New York City shelters, 247 of which house nearly 10,000 homeless




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families. Together with Defendant Banks, Defendant Carter has developed DHS’s policies and

plans to address the COVID-19 pandemic and their impact on New York City’s shelters.

Defendant Carter is sued in her official capacity.

        27.   Defendant     NEW      YORK      CITY     DEPARTMENT          OF    INFORMATION

TECHNOLOGY AND TELECOMMUNICATIONS (“DoITT”) is an agency of New York City.

DoITT is responsible for the sustained, efficient, and effective delivery of information technology

services, infrastructure, and telecommunications to residents of New York City. DoITT oversees

the City’s use of existing and emerging technologies in its delivery of services to the public and

helps facilitate the technology needs of other New York City agencies.

        28.   Defendant JESSICA TISCH is the Commissioner of DoITT. Defendant Tisch is

responsible for the day-to-day operations of DoITT, which include, among other things, providing

for the delivery of IT services, infrastructure, and telecommunications to New York City residents.

Together with Defendants Banks, Carter, and Jenkins, Defendant Tisch is responsible for the

provision, installation, and maintenance of internet services at the City’s shelters. Defendant Tisch

is sued in her official capacity.

        29.   Defendants New York City, DOE, DSS, DHS, HRA, DoITT, Carranza, Banks,

Jenkins, Carter, and Tisch are referred to herein as “Defendants.”

        30.   Defendants have, at all relevant times, been acting or purporting to act under color

of the law of the State of New York.

                                    FACTUAL BACKGROUND

I.      COVID-19 Forces New York City Schools to Close

        31.   In or around December 2019, COVID-19, an acute respiratory disease caused by the

novel coronavirus SARS-CoV-2, began spreading in various locations around the world,




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principally China and Europe. COVID-19 has spread to 215 countries and territories since its

initial emergence. As of the time of this filing, more than 12 million people have contracted

COVID-19 and more than 550,000 people globally have died from it. So far, there is no readily

available vaccine or effective anti-viral treatment for COVID-19.

        32.     On January 21, 2020, the U.S. Centers for Disease Control and Prevention confirmed

the first case of COVID-19 in the United States. Shortly thereafter, on January 30, 2020, the World

Health Organization declared a global health emergency, identifying COVID-19 as a “public

health emergency of international concern.” The next day, the U.S. government declared the

COVID-19 outbreak a public health emergency.

        33.     As the number of COVID-19 cases shot up globally in March 2020, the New York

City metropolitan area became the epicenter of the outbreak in the United States. On March 1,

2020, New York State confirmed its first COVID-19 case. Days later, on March 3, 2020, a second

case of the virus was confirmed in Westchester County. By March 31, 2020, New York State

reported 75,795 COVID-19 cases and 1,550 deaths.

        34.     On March 15, 2020, Mayor de Blasio ordered the New York City public schools to

shut down in response to the pandemic. More than one million students in the City’s public

schools, including the estimated 114,000 homeless students who attend those schools, 2 were

required to continue their education remotely. Teachers and students quickly shifted from

traditional in-person classroom learning to an entirely online program, as best as they were able.

        35.     When the City’s public schools moved entirely online, DOE made plans to provide

remote instruction to students. DOE created an online platform through which students could


2
 The McKinney-Vento Homeless Assistance Act requires that public schools ask incoming students about their
housing status; at the end of last year, New York City reported that 114,000 school-aged children met the McKinney-
Vento definition of homelessness: lacking a “fixed, regular and adequate nighttime residence.” 42 U.S.C. § 11434a(2).
Not all 114,000 school-aged children live in a homeless shelter.



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access their remote classes. When online, students would participate virtually with their instructors

and classmates, download homework and other assignments, and obtain other educational

resources while not in the physical classroom. An effective and reliable internet connection was

thus necessary to attend and participate in school.

       36.    In March 2020, aware that the dramatically increased importance of internet access

would erect an educational barrier to the City’s underprivileged children, Defendant Carranza

announced the City’s plan to distribute iPad devices to students in need. Defendant Carranza stated

that students residing in shelters would be prioritized.

       37.    DOE eventually distributed over 300,000 devices to New York City students who

did not have a device at home that would allow them to attend class virtually.

       38.    DOE also contracted with T-Mobile, a provider of cellular technology services, to

equip the devices with cellular plans that would enable them to connect to the internet, assuming

adequate cellular service where the device is located.

II.    COVID-19’s Impact on Homeless Children’s Education

       39.    Even prior to the COVID-19 pandemic, children residing in shelters faced significant

challenges. For these children, school provides an essential source of stability, offering not only

an education, but also meals, physical and mental health services, and a support network of

teachers and administrators.

       40.    When the City’s education program moved to a remote format, many students,

especially students living in shelters, were left without the necessary technology to access their

classes. While DOE reacted by distributing iPad devices equipped with cellular plans, problems

with that solution quickly emerged and have yet to be remedied.




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          41.   As early as March 26, 2020, reports emerged that children residing in shelters were

consistently unable to access their remote classes. The problems were twofold. First, the T-Mobile

cellular service provided with the iPad devices distributed by DOE was plagued by rampant “dead

zones.” At the Flatlands Family Residence in Brooklyn, for example, T-Mobile’s services did not

provide sufficiently robust cellular coverage to enable reliable access to the internet. Second, at

the Flatlands shelter and many others throughout the City, staff refused or were unable to provide

access to existing WiFi networks utilized by shelter staff.

          42.   Plaintiffs and other Class members experienced these impediments to school

attendance virtually from the outset of the school closures mandated in response to the pandemic.

Plaintiffs reported their children were unable to do simple tasks on the DOE-provided iPads, such

as downloading homework. Spotty service meant that engaging in real-time learning was almost

impossible. Although DOE arranged for a support hotline to assist students and parents with

technical support, when Plaintiffs and other Class Members engaged with that hotline, or with

shelter staff and school administration, they were unable to address the underlying problem and

thus unable to attend school, a right they have under the law.

          Plaintiff E.G.

          43.   Since full-time in-person schooling was shut down in March 2020, E.G.’s children

have attended school remotely. When given the option of sending them to school for part-time,

in-person learning in September, E.G. chose to keep them home to avoid exposing them to the

virus.

          44.   The DOE-provided iPads, however, have not worked consistently, and E.G.’s

daughters have been unable to fully participate in school. E.G. called the DOE support hotline and

spoke to staff at her daughters’ school, but no one was able to provide long-term solutions. The

shelter staff provided E.G. with the shelter’s WiFi password, but the service did not consistently


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cover the needs in the family’s living space. E.G. set up a hotspot to connect to the internet by

using her cell phone, but only one of her daughters could use it at a time, and the signal was often

not strong enough to allow either of her daughters to participate in classes on Zoom, a video

platform that requires a significant amount of bandwidth to operate properly. Additionally, E.G.

often ran out of data, which prevented anyone from accessing the hotspot. E.G. was able to obtain

computers for her daughters, but, without reliable internet service, her children were still unable

to attend school.

       45.    Since September, E.G. has called the DOE support hotline between eight and ten

times, and her daughters are still unable to reliably connect to the internet to attend school. DOE

has not offered to replace the iPads or the cellular carrier for the iPads.

       46.    The elementary school attended by L.I., E.G.’s 11-year-old daughter, has threatened

to bring a child protective matter in Family Court against E.G. based on the issues with L.I.’s

attendance. This threat was made despite the fact E.G. is in constant communication with her

daughters’ schools when they have issues signing into class. Despite making every effort to engage

her children with school, E.G. has been threatened with punishment, and is concerned that her

daughters will need to repeat fifth and sixth grade due to the internet access issues plaguing their

education during the pandemic.

       Plaintiff M.M.

       47.    M.M.’s four school-age children have been using DOE-provided iPads since March

2020 when school was closed due to the pandemic. The only way her children can currently attend

school remotely is by using the cellular-enabled iPads, as the shelter does not have broadband

internet or WiFi. Despite help from the elementary school’s technology teacher, M.M.’s children

have never been able to consistently use the iPads. They are sometimes barely able to find service




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long enough to download their homework assignments. Starting this semester, the schools

expected the children to spend more time online participating in live classes via Zoom, which has

made the ineffective iPads even less helpful than in the spring. For example, earlier this month,

none of M.M.’s children were able to connect to the internet at any time for two consecutive days.

       48.   During a recent parent-teacher conference, M.M. was told that her children had

already missed so much instruction that they might have to repeat this year of school. M.M. was

not willing to send her children to school in person; as a single mother of five, contracting COVID-

19 presents a heightened risk.

       Plaintiff O.M.

       49.   Plaintiff O.M. lives in a DHS-run shelter in Brooklyn with his wife and son, A.M.

       50.   At the beginning of the pandemic, A.M. attended a middle school across the street

from the family’s shelter. He has been engaged in remote-only learning since that time due to

O.M.’s medical conditions, which put him at risk of severe complications if he were to contract

COVID-19.

       51.   A.M.’s middle school provided him with a Chromebook computer so he could

complete his schoolwork. However, because the family’s shelter does not have WiFi, A.M. had

to use O.M.’s cell phone as a hotspot, a solution which worked only intermittently. A.M.’s school

gave him an iPad with cellular service, but it too did not work consistently.

       52.   At the beginning of the current school year, A.M.’s new high school provided him

with another Chromebook computer, but the family still had to rely on O.M.’s smartphone as a

hotspot, which again meant internet access was intermittent. More recently, DOE provided an

iPad with Verizon cellular service, but A.M. is still unable to consistently access the internet; he




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loses his internet connection during class at least once a day, and sometimes many times a day. In

addition, the DOE devices block certain websites he needs to access to complete his schoolwork.

       53.    Plaintiff O.M. has contacted the DOE support line many times over the past few

months, but the issues have not improved. The shelter staff recently told O.M. that the earliest

they will have WiFi access from the shelter is next year.

       54.    A.M. has an Individualized Education Plan, which mandates special education

services, including specialized instruction, due to his disability. However, without the ability to

consistently engage with this instruction online, O.M. is concerned A.M. will continue to fall

further behind.

       55.    Plaintiffs’ experiences have not been unique. Upon information and belief, families

in shelters across the City have been forced to take drastic measures such as standing outside at

the nearest “LinkNYC” sidewalk WiFi kiosk, or sitting in a fast-food restaurant, in order to find a

sufficiently reliable internet connection to download schoolwork. Attending class virtually while

standing on the sidewalk or sitting in a restaurant has not been a realistic possibility.

       56.    There are more than 200 shelters serving families with children in the DHS system.

According to DHS, most of these shelters do not have WiFi available for residents.

       57.    These internet access issues also exist for young adults between the ages of 18 and

21 who are enrolled in public school. These young adults, some of whom may reside with their

parents in the adult family or single adult shelter systems, may also reside in the DHS-run single

adult shelter system where they are sharing living space with many other adults. Although a vast

majority of single adults have been moved to hotels to de-densify the congregate shelter settings,

they usually share a small room with another adult and are not guaranteed WiFi or internet access

to attend school.




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        58.   There are approximately 50 domestic violence shelters serving families with children

in the HRA system. According to HRA, most of these shelters do not have WiFi available for

residents.

III.    Even with Prior Notice of the Problem, Defendants Fail to Provide Adequate
        Internet Access in Advance of the 2020-2021 School Year

        59.   As early as the spring of 2020, Coalition for the Homeless conveyed its concerns to

representatives of DOE and DHS about the lack of adequate internet access for school-age children

residing in shelters.

        60.   Even prior to the closing of schools in March 2020, DHS indicated to Plaintiff

Coalition for the Homeless that it planned to install WiFi at both the Flatlands shelter and the

Jamaica Residence, another shelter where families with school-age children have experienced

internet connectivity issues. DHS was notified that, in the course of Plaintiff Coalition for the

Homeless’s efforts to provide online after-school programming at both residences, it became clear

that cellular-based internet service was inconsistent at best at both locations. On March 20,

Plaintiff Coalition for the Homeless and other advocates sent a letter calling for students who are

homeless to have access to Regional Enrichment Centers.

        61.   In late May 2020, The Legal Aid Society, on behalf of students enrolled in a child

care service run by Plaintiff Coalition for the Homeless, contacted DOE-designated technology

staff to follow up on support requests that families residing at Flatlands had submitted but had not

been addressed. On June 11, DOE confirmed via telephone its knowledge that many families were

unable to connect to the internet. By July 6, however, the first day of DOE’s summer school

program, no improvement had been made.




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       62.   On July 7, 2020, The Legal Aid Society notified DOE’s Office of Students in

Temporary Housing of the internet connectivity issues at the Flatlands shelter. In response, DOE

indicated that it had received approval that morning from DHS to coordinate a T-Mobile site visit.

       63.   In or around the same time, Plaintiff Coalition for the Homeless and The Legal Aid

Society jointly alerted DHS to the problems students in its shelters were experiencing with

connecting their iPads via the T-Mobile service. Plaintiff Coalition for the Homeless and The

Legal Aid Society continued to raise this issue during weekly calls with DHS throughout the

summer in anticipation of the 2020-2021 school year. Not until August 28, however, did DOE

schedule the site visit from T-Mobile that it had promised on July 7. And even then, technicians

only checked signal strength outside of the building. Despite T-Mobile’s apparent effort that day

to “boost” service, nothing improved for families residing in the shelter.

       64.   Weekly discussions continued between Defendant DHS, Plaintiff Coalition for the

Homeless, and The Legal Aid Society through the summer and into the fall. Defendant DHS

insisted that the iPads previously distributed by DOE were an appropriate solution to the

connectivity problem, despite extensive and persistent reports of cellular dead zones. Defendant

DHS declined to assess the feasibility of installing WiFi in the City’s shelters, in the face of

repeated urging by Plaintiff Coalition for the Homeless.

       65.   At no time in the course of these discussions did Defendants contest that some or all

of the 2020-2021 school year was likely to be conducted remotely. Nor did Defendants contest

that reliable internet access is a prerequisite to participation in remote schooling. Nonetheless,

despite their knowledge that cellular-based internet service was inadequate, at no point prior to the

2020-2021 school year did Defendants facilitate the installation of WiFi in shelters. Instead,

Defendants offered mere expressions of concern and nothing by way of a concrete action plan to




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address the problem. That failure doomed the upcoming school year to the same connectivity

problems that plagued the end of the last one and impeded students from participating in various

summer educational programs provided by New York City public schools that are particularly

essential to students living in shelters.

        66.   On July 8, 2020, Mayor de Blasio announced that New York City’s public schools

would not fully open for the 2020-2021 school year. Instead, Defendant DOE announced a

“blended” remote learning program for at least the start of the 2020-2021 school year. Under this

model, families could choose whether to have their children attend school solely through remote

learning or through a blended program where they would spend one to three days a week at school

and attend remotely for the rest of the week. Although this blended program would allow for some

in-person instruction, significant amounts of class time, assignment submission time, and activities

would still occur remotely for all students, regardless of their circumstances.

        67.   On August 4, 2020, Plaintiff Coalition for the Homeless and other advocates sent a

letter calling on Mayor de Blasio to prioritize the educational needs of students who are homeless

while planning for the reopening of schools this fall.

        68.   On September 16, 2020, Plaintiff Coalition for the Homeless and other advocates

sent a letter calling on Mayor de Blasio to develop a coordinated interagency plan to address the

barriers that students who are homeless were facing as the school year began.

        69.   By the beginning of November 2020, about 75% of all students in the DOE system

chose to attend school remotely, and were thus entirely reliant on the internet for their education.

Many students with disabilities and vulnerabilities that place them at higher risk of severe

complications if they fall ill with COVID-19, or students who live with at-risk family members,

chose fully-remote learning so as not expose themselves or their families to the coronavirus and




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the severe health outcomes of COVID-19. The pandemic has hit Black and Hispanic/Latinx

communities especially hard—with greater prevalence and comparatively worse health outcomes.

Those communities are in turn disproportionately represented in the City’s shelter system.

       70.   DOE has not announced any date on which they plan to return to a fully in-person

program. The City’s blended learning program was also subject to an important caveat—if the

percentage of positive COVID-19 tests in New York City ever exceeded 3% using a 7-day rolling

average, then schools would need to close fully again and move back to a system of entirely remote

education. On November 18, 2020, Defendant Carranza announced that this threshold had been

reached and that all New York City public schools would need to revert to offering only remote

education starting on November 19, 2020.

       71.   Plaintiff Coalition for the Homeless was not the only party to express concerns to

City officials, including Defendants, regarding the lack of reliable internet access for children in

shelters. For instance, on August 14, 2020, the New York City Bar Association wrote to Mayor

de Blasio raising concerns about the thousands of homeless New Yorkers who lacked internet

access because they resided in the City’s shelters.

       72.   On September 16, 2020, Comptroller Scott Stringer sent a letter to Mayor de Blasio

and Defendant Carranza expressing concern that unreliable internet and cellular service in shelters

would prevent homeless students from being able to attend class and receive a sound basic

education. Comptroller Stringer asked the City to provide his office with an assessment of how

many shelters lacked adequate cell and internet reception and to detail any steps being taken to

correct this “urgent situation.”    Comptroller Stringer also urged the City to designate an

“Interagency Director of Students in Temporary Housing” who would have authority to

troubleshoot large system-level problems across agencies.




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        73.   Defendants did not, as requested in Comptroller Stringer’s letter, provide the

Comptroller with an assessment of how many shelters lacked adequate cell and internet reception;

did not detail any steps being taken to correct this “urgent situation”; and did not designate the

proposed “Interagency Director of Students in Temporary Housing.” In fact, the City did not

respond to the Comptroller at all.

IV.     The 2020-2021 School Year Begins, and Students in Shelters Continue to Struggle
        with Inadequate Access to the Virtual Classroom

        74.   As the 2020-2021 school year began, the pandemic was still active throughout New

York City and other parts of the country. On September 16, 2020, the school year began remotely

for all students. Not until September 21 were any public-school students able to attend in-person

classes. And not until October 1 did all students who opted into the blended program begin in-

person instruction.

        75.   Predictably, children living in shelters, including Plaintiffs, experienced issues

accessing their online classes and coursework from the very outset of the school year.

        76.   If anything, engaging in remote schooling this fall has been more difficult for

Plaintiffs than it was in the spring. This increased difficulty has been in part due to DOE’s pivot

from emergency remote learning, which often required a check-in and remote assignments, to an

expectation that students would be engaged in classes for hours by videoconference. This shift

has placed an impossible strain on the already shaky internet or cellular services available to

Plaintiffs, causing their children to fall further behind.

        77.   Once again, Plaintiff Coalition for the Homeless promptly brought these issues to the

attention of DOE and DHS representatives. As before, DOE and DHS representatives did not

dispute the necessity of reliable internet access for remote learning, but again failed to articulate

any action plan to resolve the connectivity issues plaguing the shelters.



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       78.   On October 8, 2020, Milbank LLP and The Legal Aid Society, counsel for Plaintiffs,

sent a letter to Defendants Carranza and Carter demanding that they and their respective agencies

take action, at long last, to install WiFi at the Flatlands shelter and others experiencing similar

problems with reliable internet access.

       79.   On October 14, 2020, DOE’s General Counsel, Howard Friedman, responded to the

October 8 letter sent by Plaintiffs’ counsel. Friedman asserted that “all remote learning apps

performed satisfactorily” at the Flatlands shelter when using Verizon’s cellular network, rather

than T-Mobile’s, admitting nearly eight months after the school closures that T-Mobile’s cellular

network had not been performing satisfactorily at the Flatlands shelter. Friedman further demurred

regarding WiFi installation, noting dismissively that it was Plaintiffs’ counsel’s “preferred

solution” but that DOE would need to evaluate “technical requirements and cost.”

       80.   On October 16, 2020, at a City Council hearing, Defendant Carranza confirmed that

DOE remained focused on using cellular technology for students living in shelters, rather than

equipping those shelters with WiFi, adverting vaguely to feasibility and cost issues.            On

information and belief, at least as of October 20, Defendants DOE and/or DHS had not arranged

for a technician to visit the Flatlands shelter and determine whether WiFi installation would in fact

pose material feasibility or cost issues there. And DOE and DHS representatives maintained that

switching from T-Mobile to Verizon for cellular service would likely be sufficient to address the

connectivity issues, even though they were aware that Verizon’s service also suffered from dead

zones. At the same time that they maintained this view, at least one homeless student living in the

Flatlands shelter was unable to access the internet on his iPad after the switch from T-Mobile to

Verizon. While this student has since moved to a different unit in the building where he is now




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able to connect, reliance on cellular service is an unsustainable alternative to installing WiFi.

Connectivity issues have persisted at the Flatlands shelter to the present day.

V.     Mayor de Blasio Directs Shelter-Wide WiFi Installation

       81.    On October 26, 2020, Mayor de Blasio held a daily press conference at which he was

asked questions regarding the ability of children living in shelters to obtain reliable internet access

and participate in remote schooling. Rather than insisting that that cellular access on the DOE-

distributed iPads was a sufficient solution, Mayor de Blasio acknowledged that it was necessary

to equip shelters with WiFi. Mayor de Blasio stated:

                   [T]he instruction I have given to the Law Department and to
                   Social Services is to ensure that every shelter gets WiFi, to
                   send teams out to literally go shelter by shelter and simply
                   ensure that, not just for that student but for the whole shelter,
                   WiFi is in place. We’ve got to stop this and make sure
                   everyone has what they need.

       82.    At the same press conference, Defendant Carranza noted that he and Mayor de Blasio

held themselves “accountable to make sure that we resolve any of those technology issues” that

children in shelters were facing with respect to engaging in remote education.

       83.    On October 28, 2020, the General Counsel of Defendant DSS, Martha Calhoun, sent

a letter to Plaintiffs’ counsel outlining the City’s plan to effectuate the Mayor’s directive. Calhoun

stated that DSS could not offer a “defined timeframe” for installing WiFi at the approximately 247

DHS sites that required it. Instead, Calhoun offered an “aggressive goal” of completing the project

by the summer of 2021—that is, after the 2020-2021 school year is over. With respect to 27

“priority sites,” including the Flatlands shelter, Calhoun indicated that installation could be

complete at an undefined time “this winter,” again with the caveat that this was the City’s

“aggressive goal” (meaning it would potentially not be achievable, in DSS’s view). Calhoun

indicated that the City had begun surveying shelters to assess the feasibility of installing WiFi “last



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week,” even though Coalition for the Homeless had consistently raised the necessity of WiFi

access for students living in shelters beginning as early as the spring of 2020.

       84.   On October 29, 2020, in another press conference, Mayor de Blasio again

acknowledged the importance of ensuring all students in shelters had access to reliable WiFi.

Mayor de Blasio stated: “[W]e have to be there for these kids. We are going to rewire all of the

shelters that have kids in them, period. We’ll have a timeline. I’m going to let our law department

and our social services department speak to that.”

       85.   On October 30, 2020, counsel for Plaintiffs sent a second letter to Mayor de Blasio

and Defendants Carranza, Carter, Banks, and Tisch reiterating the demand that they and their

respective agencies take immediate action to install WiFi at shelters across the city. The letter

explained that the City’s indication that WiFi would not be fully installed in the City’s shelters

until the summer of 2021 at the earliest was unacceptable as it would cause many students to miss

the entire 2020-2021 school year, and reminded Defendants of Mayor de Blasio’s stated

commitment to installing WiFi in every shelter in the City.

       86.   On November 16, 2020, Georgia Pestana, an attorney in the City of New York Law

Department, sent a letter to Plaintiffs’ counsel to provide an update on the City’s plans to provide

internet access to students living in shelters. While the letter indicated that installation of WiFi

had finally begun at the Flatlands shelter (approximately six months after the issue was presented

to DOE and DHS representatives), it otherwise lacked particulars, stating that “surveys” of “almost

half of the shelter sites” had been completed, and that installation work would begin “at several

additional shelters soon.” The letter did not indicate the shelters where such installation would

begin; how many shelters were meant by the word “several”; or what timeline was contemplated

by the word “soon.” Instead, Pestana attempted to shift much of the blame for Plaintiffs’ and other




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Class members’ connectivity issues onto “individual device” errors, “human error,” or other issues

unrelated to the lack of WiFi service that the Mayor himself had specifically directed be provided.

       87.   On November 17, 2020, when asked at a press conference about the City’s failure to

address homeless students’ inability to access their remote education due to a lack of WiFi, Mayor

de Blasio failed to reiterate his commitment to installing WiFi in every shelter in New York City,

and instead applauded the City’s measures taken to date as “enlightened.” Although Mayor de

Blasio acknowledged that there was more to be done, his defensiveness on the topic, coupled with

Pestana’s blame-shifting and non-committal letter, were the latest example of the City’s

recalcitrance in taking the necessary measures to ensure that students living in shelters can access

their remote education.

       88.   On November 18, 2020, Defendant Carranza announced that, due to increases in the

rate of positive COVID-19 cases, all New York City public schools would resume fully remote

education starting the next day. Defendant Carranza and Mayor de Blasio have called this shut

down temporary, but have offered no information on when schools will be able to re-open for in-

person learning again and have conceded that no plan for doing so has yet been prepared. At the

time of this filing, New York City’s public schools remain closed and remote learning is the only

means for children to receive an education.

       89.   As a result of the City’s failure to address the lack of adequate internet connectivity

in shelters within any reasonable timeframe, Plaintiffs and other Class members are effectively

locked out of the virtual classroom—a deprivation of their right to a sound basic education that

threatens to continue for most if not all of the 2020-2021 school year.




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VI.    The Operative Constitutional and Statutory Scheme

       90.   Article XI, § 1 of the New York Constitution (the “Education Article”) provides that

“[t]he legislature shall provide for the maintenance and support of a system of free common

schools, wherein all the children of this state may be educated.” N.Y. Const. art. XI, § 1.

       91.   As construed by the New York Court of Appeals, the Education Article requires the

State to provide “a sound basic education” to all students within the state. Bd. of Educ. v. Nyquist,

439 N.E.2d 359, 369 (N.Y. 1982). This means that the State must afford “New York City

schoolchildren the opportunity for a meaningful high school education, one which prepares them

to function productively as civic participants.” Campaign for Fiscal Equity, Inc. v. State, 801

N.E.2d 326, 332 (N.Y. 2003).

       92.   As a municipality of New York State, New York City is bound by the New York

State Constitution and laws passed by the State Legislature.

       93.   New York State Education Law § 3209 (“NYSEL”) also requires Defendants to

provide for the education of homeless children in New York State.

       94.   NYSEL § 3209(6)(b) requires state officials to monitor local school districts to

ensure that “such districts review and revise any local regulations, policies, or practices that may

act as barriers to the enrollment or attendance of homeless children in school or their receipt of

comparable services as defined in Part B of Title VII of the Federal Stewart B. McKinney Act.”

       95.   NYSEL § 3209(7) requires public welfare officials to “furnish indigent children with

suitable clothing, shoes, books, food, transportation, and other necessaries to enable them to attend

[school] upon instruction as required by the law.”

       96.   Federal law imposes additional, independence obligations on Defendants to ensure

appropriate educational access for homeless children.        In 1987, recognizing the significant




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obstacles that homeless individuals face, Congress passed the McKinney-Vento Act, Pub. L. No.

100-77, § 102(b)(2), 100 Stat. 482, 485 (codified as amended at 42 U.S.C. §§ 11431-11435). The

McKinney-Vento Act provides various forms of assistance to homeless individuals and families.

Subtitle VII-B of the McKinney-Vento Act relates to the education of homeless children and youth.

42 U.S.C. §§ 11431-11435.

        97.   The McKinney-Vento Act considers children who “lack a fixed, regular, and

adequate nighttime residence” to be homeless. Id. § 11434a(2)(A). Under the McKinney-Vento

Act, Congress provides funds to states to help them educate homeless children. Such funds are

made available to states only on the condition that “[e]ach State educational agency shall ensure

that each child of a homeless individual and each homeless youth has equal access to the same

free, appropriate public education . . . as provided to other children and youths.” Id. § 11431(1).

Grants given to the state under the McKinney-Vento Act must be used to achieve Congress’ stated

policy of ensuring homeless youth and children have equal access to an education and to “provide

services and activities . . . to enable [homeless children and youths] to enroll in, attend, and succeed

in school.” Id. § 11432(d).

        98.   The McKinney-Vento Act also requires State and local educational agencies to

“review and undertake steps to revise” any “regulations, practices, or polices” that “may act as a

barrier to the . . . attendance or success in school of . . . homeless children and youths.” Id.

§ 11431(2). The McKinney-Vento Act mandates that homeless children and youths “should have

access to the education and other services that [they] need to ensure that [they] have an opportunity

to meet the same challenging State academic standards to which all students are held.” Id.

§ 11431(4).




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        99.   The McKinney-Vento Act confers enforceable rights upon its beneficiaries who may

sue to enforce those rights under 42 U.S.C. § 1983. See Nat’l Law Ctr. on Homelessness & Poverty

v. New York, 224 F.R.D. 314, 319 (E.D.N.Y. 2004); Lampkin v. District of Columbia, 27 F.3d 605,

612 (D.C. Cir. 1994).

        100. In 2019, Defendant DOE received $2.5 million of the $5.1 million in federal grant

money that the New York State Education Department was awarded under the McKinney-Vento

Act.

        101. By accepting those funds, Defendant DOE is required to comply with all provisions

of the McKinney-Vento Act, including the provisions requiring DOE to ensure that each homeless

child in New York City has equal access to “the same free, appropriate public education . . . as

provided to other children and youths.” Id. § 11431(1).

        102. Finally, Defendants’ obligations are governed by the Fourteenth Amendment to the

U.S. Constitution. The Fourteenth Amendment prohibits any state from denying “to any person

within its jurisdiction the equal protection of the laws.” U.S. Const. amend. IV, § 1 (the “Equal

Protection Clause”). The Equal Protection Clause applies to state policies or practices that

interfere with homeless children’s access to public school education. See, e.g., Nat’l Law Ctr. on

Homelessness & Poverty, 224 F.R.D. at 321-22.

VII.    Defendants Have Failed to Meet their Constitutional and Statutory Duties

        103. Defendants, who collectively have responsibility for matters concerning the New

York City public schools and the City’s homelessness policies, have failed to meet their

constitutional and statutory mandate to provide a sound basic education to children residing in

shelters during the COVID-19 pandemic.




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       104. Because the COVID-19 pandemic has made attendance in the virtual classroom a

basic prerequisite to receiving an education, Defendants’ failure to provide students with reliable

internet access amounts to denial of these students’ access to public school.

       105. Defendants have been aware since the outset of the pandemic and associated school

closures that homeless students residing in shelters were unable to access the virtual classroom

due to lack of reliable internet access. Only now are Defendants expressing any concrete intention

to ameliorate the situation by providing WiFi, and even then on a patently unacceptable

timetable—one that requires Plaintiffs and other Class members to effectively forego the 2020-

2021 school year.

       106. Defendants were on notice of internet access issues at the Flatlands shelter and other

shelters well before the current school year began—one that City officials, including Defendants,

knew was likely to be at least partly if not wholly remote—giving Defendants ample time to ensure

that students did not miss out on any of their education. Instead, Defendants avoided taking action

until public scrutiny made further avoidance of the problem untenable.

       107. Even though Defendants have now acknowledged that the lack of adequate WiFi or

equivalent alternative internet access in shelters, and the obstacle it poses to meaningful

participation in school, is a serious issue, the plan that they have proposed to remedy this issue is

wholly inadequate. Even if Defendants achieve what they describe as an “aggressive goal,”

Plaintiffs and other students living at designated “priority sites” will effectively miss at least an

entire semester of school, while others residing at non-priority sites will miss at least the entire

2020-2021 school year.

       108. Defendants do not appear to dispute that they are not in compliance with their legal

obligations under New York and federal law. In response to correspondence in which Plaintiffs’




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counsel have explained to Defendants the precise manner in which their conduct violates the law,

Defendants have never sought to defend the current state of affairs as compliant with their legal

obligations, focusing exclusively on the efforts they purport to be undertaking to cure the

violations.

VIII. Plaintiffs and Other Class Members Have Been Irreparably Injured by Defendants’
      Ongoing Violations of Their Constitutional and Statutory Duties

       109. As set forth above, as a result of Defendant’s policies and practices concerning the

provision of internet access in the City’s shelters, Plaintiffs and other Class members have suffered

and continue to suffer irreparable harm.

       110. Since New York City’s public schools shifted to remote and blended learning models

as a result of the COVID-19 pandemic, Plaintiffs and other Class members have consistently been

denied a meaningful opportunity to attend class and complete their schoolwork due to a lack of

adequate internet access in the shelters in which they live.

       111. Plaintiffs and other Class members have been forced to explore creative avenues to

access the internet, often at financial cost to themselves, in order to avoid missing school and losing

educational opportunities. For example, parents have used their phones as internet “hotspots,”

risking or actually incurring high fees for data use overages. Parents have sent their children to

the homes of family members who have internet access, despite the risk of COVID-19 exposure.

And, as noted above, parents have searched their neighborhoods for publicly accessible WiFi

networks they can access for long enough to download homework, including the LinkNYC stations

that are located on sidewalks throughout the City. One parent even rented a small office so her

child could have access to reliable internet for school.

       112. As a result of these barriers to their education, Plaintiffs and other Class members

have suffered setbacks in school performance due to missing class time.



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       113. At this point, Plaintiffs and other Class members have already functionally missed

the better part of the first months of this school year. The purported “solution” that Defendants

have proposed would mean that Plaintiffs’ and other Class members’ injuries would continue at

least for the entire first half of the 2020-2021 school year, and potentially for much more of it.

Other students residing in shelters may miss the entire school year altogether. As a result, Plaintiffs

and other Class members will be forced either to repeat the same grade or enter school next year

entirely unprepared.

       114. Plaintiffs’ and other Class members’ injuries result from and are directly traceable to

Defendants’ failure to comply with the Education Article of the New York Constitution, NYSEL

§ 3209, the McKinney-Vento Act, and the Equal Protection Clause of the Fourteenth Amendment

to the U.S. Constitution.

                                     CLASS ALLEGATIONS

       115. Plaintiffs bring this action individually and on behalf of all persons similarly situated

pursuant to Federal Rules of Civil Procedure 23(a) and (b)(2).

       116. The proposed class is defined as follows:

               All students enrolled in DOE schools or public charter schools who currently reside
               in, or at any time after March 26, 2020 resided in, shelters operated by the City of
               New York and/or any of its agencies, and who lack reliable internet access inside
               said shelters (the “Class”).

       117. The persons in this class are so numerous that joinder of all such persons is

impracticable and disposition of their claims in a class action is a benefit to the parties and to the

Court. There are over 10,000 families with children residing in 247 DHS-run shelters across the

City, 240 of which Defendant DHS has designated as requiring WiFi installation. There are also

many families with children residing in HRA-run domestic violence shelters.




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        118. Plaintiffs’ claims present common questions of law and fact. All members of the

Class have been subject to the same fully remote or blended learning program that requires reliable

internet access. Upon information and belief, all members of the Class lack reliable internet access

in their shelters, the legality of which would be determined under the same provisions of the New

York Constitution, NYSEL, the McKinney-Vento Act, the Fourteenth Amendment to the U.S.

Constitution, 42 U.S.C. § 1983, and the Declaratory Judgment Act.

        119. Plaintiffs’ claims are typical of the claims of the Class. Plaintiffs have been and are

being denied their legal right to a sound basic public education due to Defendants’ failure to

provide WiFi during a fully remote or blended education environment. Without access to an

adequate and continuous public education, all similarly situated children face serious setbacks in

their developmental path to becoming productive, self-sufficient adults.

        120. Plaintiffs will fairly and adequately protect the interests of the Class. There are no

conflicts between the Plaintiffs and other Class members.          Plaintiffs have retained counsel

experienced in class litigation, including litigation relating to education, homelessness policy, and

civil rights.

        121. Defendants have acted and/or failed to act on grounds generally applicable to the

Class as a whole, thereby making appropriate final declaratory and injunctive relief with respect

to the Class as a whole.

        122. The indefinite delay in installing WiFi in shelters is particularly harmful to Plaintiffs

and Class members while the pandemic persists—especially since students have had to transition

back to fully remote learning as of November 19, 2020. At the time of this filing, New York City’s

schools were closed with no plan in place for reopening, making fully remote learning the only




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means for children to receive an education. Therefore, any further delay in installing WiFi will

further irreparably harm Plaintiffs and other members of the Class.

       123. Certifying the proposed Class pursuant to Federal Rule of Civil Procedure 23(b)(2)

is an appropriate method for the fair and efficient adjudication of this controversy. Absent class

certification, it is unlikely that Defendants’ unlawful behavior could be remedied, particularly

given the numerous obstacles to bringing and maintaining a lawsuit faced by homeless families.

Indeed, absent class certification, the expansive WiFi connectivity crisis in at least 240 of the

City’s shelters will go unremedied or insufficiently remedied, and the systemic failure to educate

children residing in shelters will continue unabated so long as the COVID-19 pandemic and its

attendant restrictions continue.

                                     CAUSES OF ACTION

                                           Count One

       VIOLATION OF ARTICLE XI, § 1 OF THE NEW YORK CONSTITUTION

       124. Plaintiffs hereby repeat and incorporate by reference each of the allegations in the

foregoing paragraphs set forth above.

       125. The Education Article of the New York Constitution mandates that “[t]he legislature

shall provide for the maintenance and support of a system of free common schools, wherein all the

children of this state may be educated.” N.Y. Const. art. XI, § 1.

       126. The Education Article thus provides a constitutional guarantee of a “sound basic

education” for all children living in the State of New York. See Nyquist, 439 N.E.2d at 369.

       127. Defendants have failed to provide a sound basic education to Plaintiffs and other

Class members because they have failed to provide the internet access necessary to enable

Plaintiffs to access remote instruction from their schools during the COVID-19 pandemic.




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       128. Plaintiffs and other Class members have been irreparably injured as a proximate

result of Defendants’ ongoing violation of the Education Article.

       129. Plaintiffs and other Class members are entitled to immediate injunctive relief and

associated remedies, as set forth in the Prayer for Relief below.

                                           Count Two

            VIOLATIONS OF NEW YORK STATE EDUCATION LAW § 3209

       130. Plaintiffs hereby repeat and incorporate by reference each of the allegations in the

foregoing paragraphs set forth above.

       131. Plaintiffs and other Class members are “homeless children” as defined in NYSEL

§ 3209(1)(a)(1) because they lack a fixed, regular, and adequate nighttime residence.

       132. Plaintiffs and other Class members have been denied access to their education due to

Defendants’ policies and practices, which act as barriers to the school attendance of Plaintiffs and

other Class members, in violation of NYSEL § 3209(6)(b). Defendants’ failure to provide

adequate WiFi at shelters across New York City has prevented Plaintiffs and other Class members

from attending the virtual classroom that has become essential to receiving an education during

the COVID-19 pandemic.

       133. Defendants have failed to furnish Plaintiffs and other Class members with suitable

“necessaries to enable them to attend” school “as required by the law” in violation of NYSEL

§ 3209(7). Access to the virtual classroom has become necessary to facilitate school attendance.

Defendants have failed to provide Plaintiffs and other Class members with the technology

necessary to ensure this access. Defendants were repeatedly made aware of their failure yet failed

to implement any corrective measures to place themselves in compliance with the law.




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       134. Plaintiffs and other Class members have been irreparably injured as a proximate

result of Defendants’ ongoing violation of the NYSEL § 3209.

       135. Plaintiffs and other Class members are entitled to immediate injunctive relief and

associated remedies, as set forth in the Prayer for Relief below.

                                           Count Three

                     VIOLATIONS OF THE MCKINNEY-VENTO ACT

       136. Plaintiffs hereby repeat and incorporate by reference each of the allegations in the

foregoing paragraphs set forth above.

       137. The McKinney-Vento Act seeks to provide homeless children with “equal access to

the same free, appropriate public education . . . as provided to other children and youths.” 42

U.S.C. § 11431(1).

       138. Defendants have failed to “provide services” that will enable homeless children and

youths like Plaintiffs and other Class members to “attend” and “succeed” in school as required

under the McKinney-Vento Act. Id. § 11432(d).

       139. Defendants have also failed to “review and undertake steps to revise” any

“regulations, practices, or policies” that “may act as a barrier to the… attendance or success in

school of… homeless students and youths” like Plaintiffs and other Class members in violation of

the McKinney-Vento Act. Id. § 11431(2).

       140. Defendants were made aware on multiple occasions, beginning as early as the spring

of 2020, that their refusal to provide adequate WiFi access in shelters across the city had acted and

would continue to act as a barrier to the ability of homeless students to attend and succeed in school

given the City’s move to a blended learning program that included significant online instruction.

Given the realities of the COVID-19 pandemic, there is no service more essential to the ability of




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Plaintiffs and other Class members to attend and succeed in school than adequate WiFi. It will be

impossible for Plaintiffs and other Class members to “meet the same challenging State academic

standards to which all students are held” without access to reliable WiFi. Id. § 11431(4). This is

especially true now that New York City’s public schools have returned to a fully remote learning

model. However, Defendants failed and continue to fail to take appropriate action to remove this

impediment and provide Plaintiffs and other Class members with a necessary service in violation

of their obligations under the McKinney-Vento Act.

       141. Plaintiffs and other Class members have been irreparably injured as a proximate

result of Defendants’ ongoing violation of the McKinney-Vento Act.

       142. Plaintiffs and other Class members are entitled to immediate injunctive relief and

associated remedies, as set forth in the Prayer for Relief below.

                                           Count Four

VIOLATIONS OF THE FOURTEENTH AMENDMENT TO THE U.S. CONSTITUTION

       143. Plaintiffs hereby repeat and incorporate by reference each of the allegations in the

foregoing paragraphs set forth above.

       144. The Equal Protection Clause of the Fourteenth Amendment to the U.S. Constitution

guarantees “the equal protection of the laws.” U.S. Const. amend. XIV, § 1.

       145. Public education plays a key role in allowing an individual to participate in society

and promotes the social, economic, and intellectual well-being of that individual. Preventing

homeless children from receiving a public education denies them access to an important means by

which they and their family can alleviate their plight.

       146. By systematically refusing and failing to provide homeless children with the same

access to a free public education that is enjoyed by students and families of children who are not




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homeless, Defendants have violated Plaintiffs and other Class members’ rights to equal protection

under the law.

        147. Defendants’ actions in denying Plaintiffs and other Class members the reliable

internet access necessary to participate virtually in a public education were performed without any

appropriate basis or justification sufficient to overcome Plaintiffs’ and other Class members’

substantial interests.

        148. Plaintiffs and other Class members have been irreparably injured as a proximate

result of Defendants’ ongoing violation of the Equal Protection Clause.

        149. Plaintiffs and other Class members are entitled to immediate injunctive relief and

associated remedies, as set forth in the Prayer for Relief below.

                                            Count Five

                              VIOLATIONS OF 42 U.S.C. § 1983

        150. Plaintiffs hereby repeat and incorporate by reference each of the allegations in the

foregoing paragraphs set forth above.

        151. By implementing, authorizing, tolerating, and permitting the policies and practices

pursuant to which homeless children have been denied access to a free public education in New

York City, Defendants have deprived, and will continue to deprive, Plaintiffs and other Class

members of rights, remedies, privileges, and immunities guaranteed to every citizen of the United

States in violation of 42 U.S.C. § 1983 and of rights guaranteed by federal law, including the

McKinney-Vento Act and the Equal Protection Clause.

        152. All Defendants have acted under pretense and color of state law and in their

individual and official capacities and within the scope of their employment. Defendants’ acts




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described herein were beyond the scope of their jurisdiction, without authority of law, and in abuse

of their powers.

       153. Plaintiffs and other Class members have been irreparably injured as a proximate

result of Defendants’ ongoing violation of 42 U.S.C. § 1983.

       154. Plaintiffs and other Class members are entitled to immediate injunctive relief and

associated remedies, as set forth in the Prayer for Relief below.

                                            Count Six

   REQUEST FOR DECLARATORY RELIEF PURSUANT TO 28 USC §§ 2201-2202

       155. Plaintiffs hereby repeat and incorporate by reference each of the allegations in the

foregoing paragraphs set forth above.

       156. As set forth above, there is an actual controversy between Plaintiffs and Defendants

concerning Defendants’ failure to comply with the New York Constitution, NYSEL § 3209, the

McKinney-Vento Act, the Fourteenth Amendment of the U.S. Constitution, and 42 U.S.C. § 1983,

with respect to the provision of a sound basic education and related services to Plaintiffs and other

members of the Class.

       157. Defendants’ failure to provide WiFi to school-age children residing in shelters

deprives them of access to the sound basic education to which they are entitled. The inexcusable

delay in installing WiFi in shelters is particularly harmful to Plaintiffs and Class members while

the pandemic persists—especially since students have again had to transition to fully remote

learning because of the high COVID-19 positivity rate in New York City.

       158. Accordingly, pursuant to 28 USC §§ 2201-2202, Plaintiffs are entitled to a

declaratory judgment stating that Defendants have violated Article XI, § 1 of the New York




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Constitution, NYSEL § 3209, the McKinney-Vento Act §§ 11431-11432, and the Equal Protection

Clause of the Fourteenth Amendment to the U.S. Constitution.

                     REQUEST FOR A PRELIMINARY INJUNCTION

       159. Plaintiffs hereby repeat and incorporate by reference each of the allegations in the

foregoing paragraphs set forth above.

       160. Plaintiffs seek a preliminary injunction ordering Defendants to install WiFi as soon

as is reasonably practicable, but no later than January 4, 2021, at all shelters housing school-age

children in New York City to permit Plaintiffs and other Class members to access their education

in accordance with Defendants’ obligations under state and federal law.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray to this Court for an Order:

               A.     Granting a preliminary injunction ordering Defendants to equip all shelters

               housing school-age children in New York City with reliable WiFi access as soon

               as is reasonably practicable, but in no event later than January 4, 2021;

               B.     Directing Defendants to submit to the Court a comprehensive plan for how

               they will install and maintain WiFi access in every shelter housing school-age

               children in New York City to enable students living in shelters to attend school;

               C.     Certifying this case as a class action under Federal Rules of Civil Procedure

               23(a) and 23(b)(2).

               D.     Declaring that Defendants’ policies, customs, patterns, and practices

               concerning the provision of internet access at Defendants’ shelters throughout New

               York City, as described herein, violate the New York State Constitution, NYSEL,

               the McKinney-Vento Act, and the U.S. Constitution;




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            E.    Awarding Plaintiffs and other Class members compensatory damages;

            F.    Awarding Plaintiffs their costs and reasonable attorneys’ fees in this action;

            and

            G.    Awarding such other and further relief as this Court deems just and proper.

Dated: November 23, 2020
       New York, New York
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